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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 UNITED STATES OF AMERICA                                 §
                                                          § CASE NO. 4:23-cr-218
 v.                                                       §
                                                          §
 (1) HARDIK JAYANTILAL PATEL,                             §
     aka Erik aka Mitesh aka Nick aka Dev, and            §
                                                          §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                        §
            Defendants.                                   §

                   UNITED STATES’S NOTICE OF RELATED CASE,
                 MOTION TO TRANSFER, AND MOTION TO EXPEDITE

        The United States files this notice of related case and respectfully moves the Court to

transfer the above case to the docket of U.S. District Court Judge Andrew S. Hanen, who has been

presiding over the related case for the past year.

                   INTRODUCTION AND NOTICE OF RELATED CASE

        The above case, Case No. 4:23-cr-218, United States v. Hardik J. Patel et al. (the “Patel

Case”) was indicted on May 17, 2023, and named two defendants: Hardik J. Patel and

Dhirenkumar Patel. Hardik J. Patel and Dhirenkumar Patel are both charged with conspiracy to

commit mail fraud and conspiracy to commit money laundering. Additionally, Hardik J. Patel is

charged with several counts of mail fraud. The Government alleges that Defendants in the Patel

Case were involved in a Fraud Ring in which co-conspirators often impersonated the United States

government in order to dupe victims into providing funds to the Fraud Ring. The Indictment

alleges that these funds were provided in the form of cash mailed in parcels via mail carrier, and

that hundreds of victims suffered millions of dollars in losses at the hands of the Fraud Ring.

(Docket Entry No. 1.)



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       With this filing, the United States notifies the Court that the Patel case is related to an

older, pending case in front of U.S. District Judge Andrew S. Hanen: Case No. 4:22-cr-440, United

States v. Sohil Vahora et al. (the “Vahora Case”). The Vahora Case was indicted on September 7,

2022, and named three defendants: Sohil Vahora, Zaheen Malvi, and Amirsinh Diwan. The

Indictment in the Vahora Case is attached as Exhibit A for ease of reference.

                    ASSOCIATION BETWEEN THE RELATED CASES

       There is substantial overlap between the Vahora Case and the Patel Case. Both cases

involve domestic mail fraud and money laundering conspiracies. The fraud originated from Indian

call centers that targeted victims residing in the United States, often by falsely representing that

the caller was employed by an American government agency and threatening the victim with

negative government action if the victim did not send money in the form that the caller demanded.

Defendants in both cases aided and abetted these India-based telefraud schemes by taking

possession of cash that had been mailed by victims as instructed over the phone, and subsequently

laundered those fraud proceeds through means devised to transmit the funds to India.

       The Vahora Case involves a longer conspiracy period than the Patel Case. The conspiracy

period in the Patel Case—March 2019 through November 2019—is completely subsumed within

the January 2017 through August 2020 conspiracy period of the Vahora Case. Additionally,

Defendants in the Vahora Case not only conspired to aid and abet the telefraud schemes by taking

possession of cash that had been mailed by victims, they also liquidated funds from gift cards that

had been purchased by victims.

       Despite these variations, the two cases are related in the nature of the criminal conduct

involved. They also have significant overlap in terms of specific criminal acts, victims, witnesses,

and evidence. The lead defendant in the Vahora Case (Sohil Vahora) and the lead defendant in the



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Patel Case (Hardik J. Patel) are alleged to have been handlers or managers in the scheme; they

directed the activities of runners who received victim packages, took out the cash inside, and

disposed of the cash as instructed. Further, the government alleges that Sohil Vahora and Hardik

J. Patel worked together in 2019 to co-manage a runner who lived in and operated primarily in

Houston, within the Southern District of Texas. This individual is referred to as Unindicted Co-

Conspirator #1 (UC #1) in the Vahora Indictment and as Unindicted Co-Conspirator (Runner

W.M.) in the Patel Indictment. Because both Sohil Vahora and Hardik J. Patel aided and abetted

UC #1/Runner W.M.’s activities, three packages picked up by UC #1/Runner W.M. are charged

as substantive mail fraud counts in both the Vahora Case and the Patel Case. 1

       UC #1/Runner W.M. was prolific. Between May 2019 and October 2019, more than 160

packages were mailed by victims to UC #1/Runner W.M.’s aliases at addresses in the greater

Houston area. Several more packages were mailed to his aliases at addresses in north Texas and in

New Jersey. The government alleges that UC #1/Runner W.M.—while picking up victim packages

for Sohil Vahora and Hardik J. Patel—was responsible for receiving and laundering more than

$1.4 million in victim cash. This estimation is based solely on the victim packages mailed to UC

#1/Runner W.M. whose content is known; more than half of the victim packages’ contents are

unknown.




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        Vahora Count 2 and Patel Count 3 involve a package mailed by Victim G.S. and picked
up by Runner W.M. on August 9, 2019, in Houston, Texas.

       Vahora Count 3 and Patel Count 5 involve a package mailed by Victim R.E. and picked
up by Runner W.M. on September 17, 2019, in Houston, Texas.

       Vahora Count 4 and Patel Count 6 involve a package mailed by Victim R.E. and picked
up by Runner W.M. on September 19, 2019, in Missouri City, Texas.
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                                STATUS OF RELATED CASES

       The Vahora Case was indicted on September 7, 2022. All three defendants were arrested

in other districts and first appeared in this district on various dates in October 2022. The status of

their respective cases are as follows:

               •       Sohil VAHORA: As noted above, Mr. Vahora is alleged to have
                       been a handler or manager of runners. He is the only defendant in
                       the Vahora Case who remains on a trial docket. His current trial
                       setting is October 30, 2023.

               •       Zaheen MALVI: Mr. Malvi began as a runner who worked for Mr.
                       Vahora and later in the conspiracy period co-managed a runner with
                       Mr. Vahora. On May 15, 2023, Mr. Malvi entered a guilty plea to
                       Count One of the Indictment, Conspiracy to Commit Mail Fraud and
                       Wire Fraud in violation of 18 U.S.C. § 1349. He is pending
                       sentencing, currently scheduled for December 11, 2023.

               •       Amirsinh DIWAN: Mr. Diwan is alleged to have been a runner
                       who worked for Mr. Vahora. Mr. Diwan is scheduled for re-
                       arraignment on October 10, 2023.

       The Patel Case was indicted on May 17, 2023, and named as defendants Hardik J. Patel

and Dhirenkumar Patel. Hardik J. Patel is alleged to have been a handler or manager of runners in

the scheme. Dhirenkumar Patel is alleged to have worked for Hardik J. Patel as a runner.

       The government could have superseded the Vahora Indictment to add the Patel defendants,

as Rule 8(b) of the Criminal Rules would have permitted the joinder. The United States instead

separately indicted the Patel Case, in part due to concerns about continued connections among the

Vahora and Patel Defendants and the risk that one or both of the Patel Defendants would receive

word of the superseding indictment and flee prosecution. The United States considered both

defendants in the Patel Case to pose a flight risk.

       The Patel Defendants were arrested in the Eastern District of Kentucky on August 7, 2023,

and first appeared in this district two weeks later. Upon the unsealing of the Patel Case, the United

States notified defendants in both the Patel Case and the Vahora Case of the association between

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the cases. The United States has provided the same discovery in both cases: more than 1 terabyte

of discovery material to date.

       At this time, only two motions are pending before this Court in the Patel Case, both

unopposed: a motion filed by the government for entry of a Protective Order governing discovery

(Docket Entry No. 24) and a motion to continue all dates filed by both defendants (Docket Entry

No. 25).

                            MOTION TO TRANSFER PATEL CASE

       The United States believes that the Vahora Case and the Patel Case should proceed before

the same district court judge. The United States is not moving to join the cases for trial pursuant

to Rule 13. Even in the absence of being joined for trial, judicial economy is served by the cases

proceeding before the same district court judge for purposes of pretrial motions, trial, and

sentencing.

       No rule of criminal procedure specifically governs the transfer of a case for purpose of

coordination with a related case. The United States submits, however, that the rule for joinder of

related cases for purposes of trial is instructive. Rule 13 of the Criminal Rules provides that

separately indicted cases may be joined for trial in the discretion of the district court. Rule 13, like

Rule 8(b), “balance[s] considerations of judicial economy against the possibility of prejudice.”

United States v. Arzate, 47 F.3d 423, at *2 (5th Cir. 1995).

       The consideration of judicial economy applies with full force in this context. Leaving these

two closely related cases pending before two different courts invites inefficiency, duplicated

efforts, and wasted judicial resources. Two courts have to learn the facts of the case, field motions

and objections that apply equally in both cases, and issue rulings. These rulings could be rendered

on very different time tables and could conflict in substance.



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       Moreover, the only request made by the United States is to transfer the Patel Case to Judge

Hanen. This motion does not seek joinder of the Patel Case with the Vahora Case for purposes of

trial. And there are no contested motions pending in the Patel Case which could be disrupted by

the proposed transfer. Therefore, no prejudice will result to the defendants in the Patel Case.

                                    MOTION TO EXPEDITE

       The United States recently learned UC #1/Runner W.M. is scheduled to be released from

the custody of the Bureau of Prisons on October 28, 2023. The release date may be earlier if UC

#2/Runner W.M. receives additional “good time” credit for his behavior in custody.

       UC #1/Runner W.M. has no status in the United States. His wife and children reside in

India. When he was arrested for his role in the above conspiracies in November 2019, he had an

outbound flight booked from Houston to India. As noted above, UC #1/Runner W.M. is a material

witness in both the Vahora Case and the Patel Case.

       The United States respectfully requests that the Court expedite consideration of this motion

to transfer the Patel Case, so that the Government can address any necessary pretrial motion(s)

regarding UC #1/Runner W.M. to the correct court, whether this Court or Judge Hanen.

                                     RELIEF REQUESTED

       The United States respectfully requests that the Court grant the pending unopposed motion

for entry of a protective order (Docket Entry No. 24); grant the pending unopposed motion to

continue all dates (Docket Entry No. 25); and expedite and grant this motion to transfer the instant

case to the docket of U.S. District Court Judge Andrew S. Hanen. A proposed order is submitted

for the Court’s consideration.




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                                             Respectfully Submitted,

                                             ALAMDAR S. HAMDANI
                                             United States Attorney
                                             Southern District of Texas

                                     By:     /s/ Stephanie Bauman
                                             Stephanie Bauman
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                             CERTIFICATE OF CONFERENCE

       On September 26, 2023, Steven Block on behalf of Defendant Hardik J. Patel and Sara
Richey on behalf of Defendant Dhirenkumar Patel stated that they oppose the transfer of this case.

        On September 27, 2023, the undersigned emailed Rhonda Hawkins, case manager for U.S.
District Judge Andrew S. Hanen, to communicate that the government intended to seek transfer of
this case due to the related case pending before Judge Hanen.

                                             /s/ Stephanie Bauman
                                             Stephanie Bauman
                                             Assistant United States Attorney

                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been delivered on counsel of
record via ECF upon filing.

                                             /s/ Stephanie Bauman
                                             Stephanie Bauman
                                             Assistant United States Attorney




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